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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                         ORDER OF THE EXECUTIVE COMMITTEE


       It appearing that the magistrate judge designated in 19 CV 4115, Walker v. Board of
Education of the City of Chicago et al., is Magistrate Judge Sheila M. Finnegan; and

       It further appearing that with consent of the Hon. Robert M. Dow Jr. and the Hon. John
Robert Blakey that 19 CV 8145, R. Board Of Education Of The City Of Chicago et al., be
reassigned to Magistrate Judge Finnegan for the purpose of coordinated discovery; therefore

        It is hereby ordered that the Clerk shall designate Magistrate Judge Finnegan as the
magistrate judge in 19 CV 8145, R. Board Of Education Of The City Of Chicago et al.; and

        It is further ordered that Magistrate Judge Finngegan be referred 19 CV 4115, Walker v.
Board of Education of the City of Chicago et al., and 19 CV 8145, R. Board Of Education Of The
City Of Chicago et al., for coordinated discovery.


                                    ENTER:

                             FOR THE EXECUTIVE COMMITTEE




                             Hon. Rebecca R. Pallmeyer, Chief Judge




Dated at Chicago, Illinois this 22nd day of September, 2022
